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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RICHARD JAEGER,

                      Plaintiff(s),
v.

NCO FINANCIAL SYSTEMS, INC.,                      CASE NO.: 2:11-cv-01612-TJS

                      Defendant(s).




     NCO FINANCIAL SYSTEMS, INC.’s RULE 7.1 CORPORATE DISCLOSURE
                             STATEMENT

        NOW INTO COURT, through undersigned counsel, comes, NCO Financial

Systems, Inc., which, pursuant to 7.1(a) and (b) of the Federal Rules of Civil Procedure,

hereby submits its Corporate Disclosure Statement and states as follows:

        1.      Fed. R. Civ. P. 7.1(a) provides: “A nongovernmental corporate party to an

action or proceeding in a district court must file two copies of a statement that identifies

any parent corporation and any publicly held corporation that owns 10% or more of its

stock or states that there is no such corporation.”

        2.      NCO Financial Systems, Inc., a Pennsylvania corporation, and NCO

Holdings, Inc., a Delaware corporation, are wholly owned by JDR Holdings, Inc., also a

Delaware corporation. JDR Holdings, Inc. is wholly owned by Compass International

Services Corporation, a Delaware corporation. All of the above-mentioned corporations

are wholly owned by NCO Group, Inc, a Delaware corporation. One Equity Partners and




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its corporate affiliates, which are affiliates of JP Morgan Chase & Co., own

approximately 88% of NCO Group, Inc. stock.

May 9, 2011

                                      Respectfully submitted,
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                                      /s/ Ross S. Enders
                                      Ross S. Enders, Esquire
                                      PA Bar No. 89840
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                                      Attorneys for Defendant,
                                      NCO Financial Systems, Inc.




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 9th day of May, 2011, I electronically filed a
true and exact copy of the above and foregoing ANSWER TO COMPLAINT AND
AFFIRMATIVE DEFENSES with the Clerk of Court using the CM/ECF system which
will send notification of such filing to the following email addresses:
       Craig T. Kimmel, Esq.
       Kimmel & Silverman, P.C.
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       Ambler, PA 19002
       (215) 540-8888 Ext. 116
       kimmel@creditlaw.com
       Attorney for Plaintiff
                                          /s/ Ross S. Enders
                                          Ross S. Enders, Esq.
                                          Attorney for Defendant
                                          NCO Financial Systems, Inc.




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